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                    Exhibit 2
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                                             Products      Recipes       We Are Gorton’s           Responsibility           Where to buy




                      Not All Seafood is Created Equal
                                          Trust us, no one knows that better than we do.
                     Great seafood is our passion, and it’s something we’ve been extremely proud to offer families for more than 170 years.




                                           BORN AND RAISED IN GLOUCESTER, MA
                    Our tale begins in Gloucester – America’s oldest seaport and the birthplace of the US fishing industry.
                               Gorton’s was founded here in 1849, and we’ve been proud to call it our home ever since.
https://www.gortons.com/we-are-gortons/                                                                                                       1/5
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                                            Products      Recipes       We Are Gorton’s           Responsibility           Where to buy




               WITH A PIONEERING SPIRIT AND A THIRST FOR INVENTION
                Not only was Gorton’s the very first to develop a frozen convenience food, we’ve introduced new processing
                           methods, sustainability practices and even foods – like our now-famous Gorton’s fish sticks.




https://www.gortons.com/we-are-gortons/                                                                                                   2/5
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                                            Products       Recipes       We Are Gorton’s           Responsibility           Where to buy

                                            TRUST THE GORTON'S FISHERMAN
                   He first appeared in 1975 and has been an American icon ever since. But The Gorton’s Fisherman is much
                   more than the inspiration for a beloved jingle. He embodies our belief in high quality seafood. As he likes to
                           say, “If something’s worth doing, it’s worth doing right.” These are words we live by, every day.




                     WITH GREAT SEAFOOD COMES GREAT RESPONSIBILITY
               Our Trusted Catch™ sustainability and quality initiatives ensure our processes meet the highest standards –
                    from sourcing to supply chain and manufacturing – and minimizes their environmental impact. We work
                                            hard to fulfill the Gorton’s Fisherman promise, and we always will.
https://www.gortons.com/we-are-gortons/                                                                                                    3/5
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                                             Products      Recipes       We Are Gorton’s           Responsibility           Where to buy




                                                             OUR LIFE’S WORK
                   A lot’s changed at Gorton’s since 1849, but a few things will always remain the same. We’re proud of our
                   Gloucester history, the Gorton’s Fisherman, and the dedicated group of people who work every day to help
                                          families across the country enjoy the goodness of high quality seafood.




https://www.gortons.com/we-are-gortons/                                                                                                    4/5
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                                            Products      Recipes             We Are Gorton’s           Responsibility          Where to buy
                                                         Products                  Seafood Recipes          Company                Connect
                                                         Delicious Classics        Time Saving              We Are Gorton’s        Find your Favorites
                                                         Smart Solutions           Foodie Approved          Careers                Contact Us
                                                         Everyday Gourmet          Kid Friendly             Special Offers
                                                                                   Smart Meal Choices       Privacy Policy
                                                                                                            Notice of
                                                                                                            Collection
                                                                                                            Legal Notice
                                                                                                            News
                                                                                                            Frequently Asked
                                                                                                            Questions

                                                                       Also of Interest
                                                                        seafood recipes
                                                                      Seafood to Satisfy
                                                                    beer battered flounder




https://www.gortons.com/we-are-gortons/                                                                                                                  5/5
